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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


ATIPANA CREDIT OPPORTUNITYFUND I, LP,                      Case No. 2:25-cv-00200-JMW

                              Plaintiff,                    RULE 7.1 STATEMENT
      v.

PRO SOURCE SERVICES, INC.;
VENTURE ELECTRICAL CONTRACTORS, INC.;
SMALL ELECTRICAL SERVICES CORP.;
MARY MCDERMOTT and JOHN MCDERMOTT,

                              Defendants.



      Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff, ATIPANA CREDIT

OPPORTUNITYFUND I, LP, hereby certifies as follows:

   1. Plaintiff is not a subsidiary of any other entity.

   2. No publicly held corporation owns 10% or more of stock in Plaintiff.

   3. Plaintiff is a limited partnership formed under the laws of the State of Delaware.

   4. The partners of ATIPANA CREDIT OPPORTUNITYFUND I, LP consist of the

      following:

      a. Five natural persons that are citizens of the State of New York;

      b. Two natural persons that are citizens of the State of New Jersey;

      c. One natural person that is a citizen of the State of Colorado;

      d. Hillside Capital LLC, which is a Pennsylvania limited liability company, whose sole

           member is a citizen of Pennsylvania;

      e. FFund II LLC, which is a Pennsylvania limited liability company, whose sole member

           is a citizen of Pennsylvania.
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Dated: Lancaster, New York                  Respectfully submitted,
       February 27, 2025
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